


 
   *870
   
  O’NIELL, Chief Justice
 

  (concurring in the result).
 

  I concur in the result arrived at in the majority opinion, on the ground that the New Amsterdam Casualty Company was liable where there was liability on the part of the name assured, H. T. Cottam &amp; Co., Inc., and that H. T. Cottam &amp; Co. was liable in this case under the doctrine of respondeat superior, because the employee, Le Blanc, at the time of the accident, was acting within the scope of his employment. But my opinion is that Le Blanc was not an additional insured under the policy, because the omnibus clause was superseded by the rider which made the insurance what is called nonownership insurance, protecting only the named insured.
 
